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                                              November 13, 2017

   VIA ECF

   The Honorable Roberto A. Rivera-Soto
   Ballard Spahr LLP
   210 Lake Drive East, Suite 200
   Cherry Hill, NJ 08002


              Re:    Kimberlee Williams, et al. v. BASF Catalysts LLC, et al.
                     Civil Action No. 11-cv-01754 (JLL) (JAD)

  Dear Justice Rivera-Soto:

        This firm, along with Kirkland and Ellis LLP, represents defendant BASF

  Catalysts LLC in the above-captioned matter.         We write regarding several

  concerning developments that have come to light over the last two weeks regarding

  the Bevan Firm’s client files and the existence of previously undisclosed electronic

  documents that bear directly on Your Honor’s order requiring plaintiffs and Bevan

  to turn over Bevan’s files in discovery. The Bevan files are critical for class

  discovery and class defenses and are required to be produced under Chief Judge

  Linares’s August 3, 2017 opinion and Your Honor’s Order of October 27, 2017. The

  new information raises substantial questions about the validity of the burden

  objections raised by the Bevan Firm and plaintiffs’ counsel, which were directed to

  defendants and Your Honor. Separately, we must also report that plaintiffs and Early
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  have not complied with Your Honor’s order to produce Early’s client files by

  November 2, 2017.

        In an attempt to resolve these issues informally, we have engaged in extensive,

  good-faith discussions and correspondence this week with counsel for plaintiffs and

  for the Bevan and Early Firms, all of which is attached hereto. Counsel have not

  provided meaningful responses to our inquiries. In particular, Mr. Little, who

  represents the Bevan and Early firms, appears uninterested in complying with the

  Court’s orders or clarifying the record on Bevan’s files. In light of the tight schedule

  in this case, it was incumbent on us to raise these matters with Your Honor.

        First, at an in-person meet-and-confer held on November 1, 2017, plaintiffs’

  counsel for the first time provided BASF with new information that calls into

  question what we and the Court had previously understood regarding the status of

  the Bevan Firm’s client files and the purported burdens of reviewing and producing

  them. Specifically, plaintiffs’ counsel disclosed that Bevan scanned its hard-copy

  client files years ago and now maintains its files for the putative class members in

  this case in electronic form. To be clear, we should not continue to think that there

  are thousands of boxes of paper files in an Ohio storage facility. The Bevan files,

  with limited exceptions, are electronic.
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        As Your Honor will recall, however, at the October 26, 2017 motions hearing,

  much of the argument concerning BASF’s subpoena to the Bevan Firm related to

  Bevan’s and plaintiffs’ argument that reviewing and producing documents would be

  unduly burdensome. The premise for that argument was the Bevan Firm’s and

  plaintiffs’ suggestion that Bevan’s files were stored in hard copy form in Ohio. See,

  e.g., 4/6/17 Bevan Resp. to BASF Mot. to Enforce (ECF No. 279) at 9-10 (stating

  that BASF’s subpoena “would require the review of extensive paper and electronic

  files”); 10/26/17 Hr’g Tr. at 153:5-10 (plaintiffs’ argument that counsel would have

  to “go to Ohio” to collect and review the documents).

        Based on the Bevan Firm’s and plaintiffs’ statements over the past twelve

  months, the defendants believed that most, if not all, of the Bevan files existed only

  in hard copy. Your Honor seemed to have a similar understanding at the October

  26, 2017 hearing. See, e.g., id. at 97:15-20 (Your Honor commenting on “25-year-

  old files” that were “sent to storage”). The Court thus limited Bevan’s review to 1%

  of its client files, which were to be selected by Mr. Placitella “[a]rbitrarily stick[ing]

  [his] hand in the box and pull[ing] out a file.” Id. at 153:4. Your Honor also gave

  plaintiffs’ counsel extra time to complete the review and production because he

  purportedly had to “go to Ohio.” Id. at 153:5-10. Judge Dickson similarly gave Mr.
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  Placitella extra time to respond to discovery more than a year ago because “it

  requires trips to Cleveland and other places.” 10/14/16 Hr’g Tr. at 9:6-8.

        Plaintiffs’ disclosure that the Bevan Firm’s files are stored electronically

  makes clear that the proceedings concerning Bevan’s documents were based on a

  misapprehension of how the Bevan files are maintained.1             If the Court and

  defendants had understood that the Bevan files were stored on a few DVDs or flash

  drives, it is doubtful that the Court would have discussed how plaintiffs’ counsel

  would stick his hand in boxes, how files were probably purged before being sent to

  storage, and so on. Nor do we believe that the Court would have given plaintiffs’

  counsel extra time (twice) to “go to Ohio” to gather information.

        Plaintiffs’ disclosure also shows that Your Honor was prescient in questioning

  the Bevan Firm’s unsupported claims of undue burden. Your Honor observed that,

  in asserting these burdens, Bevan did not file an affidavit or certification under

  penalty of perjury. See 10/26/17 Hr’g Tr. at 91:20-21. Our communications with

  counsel for plaintiffs and Bevan over the last two weeks only confirm the need for a

  more definitive statement of Bevan’s purported burdens in reviewing and producing



  1
    Underscoring that point, plaintiffs’ counsel now says they need guidance on how
  to select Bevan files for production because the files cannot be randomly selected by
  pulling them from boxes. See 11/8/17 C. Placitella Ltr. to E. Assaf.
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  its client files. To move discovery forward and avoid further wasted effort and

  resources determining the status of Bevan’s files, we now believe it best to conduct

  a short, one-hour deposition of a representative from the Bevan Firm to determine

  with certainty what documents exist, what form they exist in, and related records

  issues.

        Second, at the November 1, 2017 meet-and-confer, plaintiffs’ counsel also

  revealed that the Bevan Firm does, in fact, maintain an electronic database of its

  Ohio cases, which includes at least a listing of each putative class member’s alleged

  injuries (along with other information, which has not been disclosed or described to

  defendants). Over the past year, however, plaintiffs have suggested that information

  about putative class members could be obtained only from the defendants and thus

  demanded the production of databases and documents from defendants’ files.

  Plaintiffs’ disclosure regarding the Bevan database confirms that plaintiffs and their

  former counsel may have had better information about putative class members and

  their historical asbestos claims for some time. Like the Bevan files, we believe this

  information would have informed Your Honor’s consideration of Bevan’s claimed

  burden objections, as well as plaintiffs’ proffered need for extra time to file their

  class certification motion. Indeed, there can no longer be any claim of burden in
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  producing a DVD or flash drive that identifies putative class members, their claimed

  injuries, and other information.

        This information is plainly relevant—and it is critical to understanding the

  putative class, since it relates to factors like predominance, manageability, typicality,

  and other requirements under Rule 23.          Plaintiffs initially refused to produce

  anything. Then, as this submission was being finalized, plaintiffs indicated they

  would produce information from the Bevan database, but only for the five named

  class representatives. Of course, the Bevan database has only marginal relevance

  for the named plaintiffs because BASF already has access to all of their files pursuant

  to the Court’s October 27, 2017 orders. The critical information here is what the

  Bevan database contains regarding the other 3,000 putative class members’ cases,

  which directly relate to the Bevan’s firm knowledge and approach to litigating and

  resolving asbestos cases—which plaintiffs’ allegations place directly at issue.

  Plaintiffs and the Bevan Firm, however, refuse to produce the database or to describe

  the categories of information it contains, claiming it is work product. They do so

  even though the Bevan database was never logged or disclosed and even though

  Bevan has provided no factual or legal basis for the work-product claim.2


  2
   As Your Honor may recall, plaintiffs’ counsel sought Cahill’s analogous database
  even though it is concededly attorney work product. [continued on next page]
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        Finally, plaintiffs have not fully complied with Your Honor’s discovery

  orders. Plaintiffs and the Early Firm have produced no materials at all for the three

  putative class members who were represented by the Early Firm. See ECF No. 361

  (requiring production by November 2, 2017). Counsel for plaintiffs and Early have

  provided no timeline for production of these materials, stating only that some Early

  documents “are in the process of being copied and sent to Mr. Placitella” and that

  BASF should “coordinate with [Mr. Placitella] on the timeline.” 11/9/17 B. Little

  E-mail to E. Assaf. Plaintiffs’ counsel has not provided a timeline for production of

  the Early materials, indicating only that they will have the files from the Early Firm

  “shortly.” 11/10/17 H. Roth Ltr. to E. Assaf. While we appreciate that short

  extensions may be needed over the course of a litigation, we do not believe that one

  can simply ignore a Court-ordered deadline without seeking relief from the Court or

  consent from opposing counsel.




  [continued from prior page] See 10/26/17 Hr’g Tr. at 64:25 - 65:7. The Court
  decided that the Cahill database should be produced pursuant to a non-waiver
  agreement. See id. at 79:9-22, 194:5-15. In fact, because plaintiffs actually
  possessed information from the Cahill databases through last year’s mediation
  discussions, the Court simply allowed plaintiffs to continue to use it (subject to the
  protections of the Discovery Confidentiality Order). BASF is simply asking that the
  same rule apply to Bevan’s database of client cases.
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        With respect to the named plaintiffs, a substantial number of documents still

  have not been produced. For Roseanne Chernick, whose asbestos-injury case has

  been pending for more than fifteen years (and is indeed still pending), plaintiffs have

  acknowledged that their production is not yet complete. Moreover, none of the

  named plaintiffs’ files from the Bevan Firm or the Early Firm include internal

  correspondence regarding the plaintiffs’ historical cases. Again, counsel for

  plaintiffs, Bevan, and Early have provided no timeline for production of these

  materials.

        As this submission was being finalized, plaintiffs sent BASF a letter asserting

  that the Court’s order regarding the November 2, 2017 production deadline for the

  Early Firm’s client files was entered by Your Honor “in error.” 11/10/17 H. Roth

  Letter to E. Assaf. If that is so (and we do not believe that it is), then it was

  incumbent upon plaintiffs and the Early Firm to seek clarification or relief. They

  did not. This casual approach to compliance with discovery obligations and the

  Court’s orders is inconsistent with the directive we received from Your Honor to

  move this case forward.

        In these circumstances, BASF respectfully requests that Your Honor:

        1.     Modify the October 27, 2017 order regarding the Bevan Firm, ECF No.

  360, so as to eliminate the requirement that the Bevan Firm produce only a 1%
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  sample of putative class members’ files. The Bevan Firm should be ordered to

  produce a larger, statistically significant sampling of 400 of its electronic files and,

  given the lack of any need for plaintiffs’ counsel to travel to Ohio, the materials

  should be produced by November 17, 2017.

        2.     Order a one-hour deposition of a records custodian from the Bevan

  Firm. As set forth above and in the attached correspondence, there are serious

  questions regarding representations made to the Court and to the defendants by

  counsel for plaintiffs’ and counsel for the Bevan Firm. We have asked for a short

  deposition of the Bevan Firm’s custodian of records, which will allow the parties

  and the Court to understand exactly how Bevan’s files are maintained. Bevan’s

  counsel has agreed to make a witness available during the week of November 27.

  While we would prefer this deposition to occur earlier, given the case schedule for

  the rest of this year, we ask that Your Honor enter an order memorializing the

  agreement to conduct a one-hour deposition of a representative from the Bevan Firm

  during the week of November 27, 2017.3


  3
    Given that plaintiffs and the Bevan Firm have created the need for this limited
  deposition on records issues by failing to provide a certification in support of their
  burden objections and obscuring the existence of Bevan’s electronic files, BASF
  respectfully submits that it should not be forced to conduct its one Rule 30(b)(6)
  deposition of the Bevan Firm now, on short notice and before Bevan has complied
  with its outstanding discovery obligations.               [continued on next page]
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         3.     Order the Production of the Bevan Firm’s database of putative class

   member files. The production of this database will streamline the discovery process

   and provide Your Honor with a more complete understanding of the basis and

   validity of the Bevan Firm’s burden objections. The database should be produced

   pursuant to the protective order, like the Cahill database.

         4.     Order the production of any document retention policies or memoranda

   from plaintiffs’ counsel and the Bevan Firm. Plaintiffs’ counsel stated in the

   attached correspondence that he was unaware prior to October 27, 2017 that all of

   the Bevan Firm’s documents were available in electronic format. See 11/8/17 C.

   Placitella Ltr. to E. Assaf. This case was filed in 2011, and plaintiffs’ counsel told

   the Court over a year ago that he needed to go to Ohio to gather information to

   respond to discovery requests. 10/14/16 Hr’g Tr. at 9:6-8. We also know from the

   deposition of Marilyn Holley that Ms. Holley was never told to preserve the

   documents in her possession. See, e.g., 4/5/17 Holley Dep. at 32:6-8, 64:11-18,

   69:12-24 (plaintiff Holley not told “in words or in substance” to maintain

   documents). BASF respectfully requests that the Bevan Firm and plaintiffs’ counsel


   [continued from prior page] To the extent that the deposition on records issues is
   considered a Rule 30(b)(6) deposition, BASF respectfully requests that the Court
   now grant leave pursuant to Rule 30(a)(2) for BASF to take a second deposition of
   the Bevan Firm once plaintiffs’ and Bevan’s document productions are complete.
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   provide confirmation of the steps taken since 2011 to retain documents in the named

   plaintiffs’ possession, custody, or control. This topic could also be addressed in any

   deposition of Bevan’s records custodian.4

         5.     Order the immediate production of the remaining client files from the

   Early Law Firm. Your Honor ordered plaintiffs and the Early Firm to produce by

   November 2, 2017 the Early Firm’s complete client files for the named plaintiffs and

   all putative class members. See ECF No. 361. However, to date, the Early Firm has

   not provided client files for any putative class members. BASF respectfully requests

   that the Early Firm be directed to comply with Your Honor’s order immediately.

         6.     Order the immediate production of e-mails in the named plaintiffs’

   client files from the Bevan and Early Law Firms. Your Honor ordered plaintiffs and

   the Bevan and Early Firms to produce by November 2, 2017 their complete client

   files for the named plaintiffs. See ECF Nos. 360, 361. To date, the Bevan Firm and

   the Early Firm have produced only a very limited number of e-mails. BASF




   4
     Given the expedited discovery schedule and the fact that the status of Bevan’s
   electronic client files has only come to light in the last ten days, BASF respectfully
   requests that plaintiffs and Bevan be ordered to produce any materials related to the
   retention of Bevan’s client files within five days. See Fed. R. Civ. P. 34(b)(2)(A)
   (providing that a shorter time period to respond to a document request “may be …
   ordered by the court”).
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   respectfully requests that the Bevan and Early Firms be directed to produce all such

   e-mails immediately.

         Thank you for your consideration of this submission. We are available at

   Your Honor’s convenience in-person or by telephone should Your Honor wish to

   discuss these issues.


                                                Respectfully submitted,
                                                s/ Justin T. Quinn
                                                Justin T. Quinn
                                                Eugene F. Assaf, P.C.
                                                Counsel for BASF Catalysts LLC
   Enclosures

   cc:   Counsel for All Parties
         Counsel for the Bevan Law Firm and the Early Law Firm
